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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
MARK RALEIGH, as the Personal            No. 4:23-cv-00852-MWB
Representative of the ESTATE OF
BRAEDEN RALEIGH, Deceased,               (Judge Brann)

and

BRENT CRIDDLE, as the Personal
Representative of the ESTATE OF
DEVIN CRIDDLE, Deceased,

Plaintiffs,

v.

AVCO CORPORATION, et al.

Defendants.


                                  ORDER


      AND NOW, on this 15th day of June 2023, upon consideration of

the Stipulation to Extend the Deadline for CHAMPION AEROSPACE, LLC’s

time to file a response to Plaintiffs’ Complaint by 30 days, IT IS HEREBY

ORDERED that the Stipulation is APPROVED and GRANTED.

                                        BY THE COURT:


                                          s/ Matthew W. Brann
                                        ____________________________
                                        Matthew W. Brann
                                        Chief United States District Judge
